                                                                        Suzanne Simms
                                                                          9/30/2021

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